        Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION CENTER,

        Plaintiff,

        v.                                                         Civ. Action No. 19-810 (RBW)

 UNITED STATES DEPARTMENT OF JUSTICE,

        Defendant.


 JASON LEOPOLD and BUZZFEED INC.,

        Plaintiffs,

        v.                                                         Civ. Action No. 19-957 (RBW)

 UNITED STATES DEPARTMENT OF JUSTICE,

        Defendant.



                        PLAINTIFF EPIC’S RESPONSE TO ORDER

       Plaintiff Electronic Privacy Information Center (“EPIC”) respectfully submits this

response to the Court’s December 17, 2019 Order, ECF No. 104, in order to facilitate the Court’s

resolution of the matters to be addressed at today’s status conference.

        The Media Communications Order from Stone is Inapplicable to This Case

       The media communications order from in United States v. Stone is inapplicable to this

case because (1) the attorneys bound by the Stone order are not involved in this matter; (2) the

Stone Order only limits the DOJ’s ability to “mak[e] statements” “within the immediate vicinity

of the courthouse”; and (3) there is no evidence that disclosure of material from the Mueller




                                                 1
         Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 2 of 8



Report would “pose a substantial likelihood of material prejudice” to the Stone case. Order,

United States v. Stone, 19-18 (D.D.C. Feb. 15, 2019) (“Stone Order”).

        The key portion of the Stone Order states, in its entirety:

        It is hereby ORDERED that

                 Counsel for the parties and the witnesses must refrain from making
                 statements to the media or in public settings that pose a substantial
                 likelihood of material prejudice to this case; and

        it is FURTHER ORDERED that

                 all interested participants in the matter, including the parties, any potential
                 witnesses, and counsel for the parties and the witnesses, must refrain, when
                 they are entering or exiting the courthouse, or they are within the immediate
                 vicinity of the courthouse, from making statements to the media or to the
                 public that pose a substantial likelihood of material prejudice to this case or
                 are intended to influence any juror, potential juror, judge, witness or court
                 officer or interfere with the administration of justice.

Stone Order at 3–4.1 Nothing in the text of the Order prohibits the DOJ from disclosing—in an

entirely separate proceeding—records that EPIC has the right to obtain under the Freedom of

Information Act (“FOIA”). As this Court previously stated, the Stone Order “doesn’t obviate . . .

the need for me to make an independent decision under FOIA as to whether I order something

more than what’s been provided in order to comply with FOIA.” Tr. at 71:11–14, ECF No. 83.

Three reasons support the Court’s preliminary assessment.

        First, the “[c]ounsel for the parties” and the “witnesses” bound by the Stone Order are not

involved in this case. Id. at 3. The first half of the Stone Order is thus irrelevant here. Contra

Def.’s Status Report & Resp. to Court’s Order 4–5, ECF No. 105. And even if there were

attorneys in common between Stone and EPIC v. DOJ, it is the DOJ’s Office of Information




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 The Court in Stone later amended the media communications order to impose additional restrictions on Mr. Stone
himself, none of which are relevant here. See Minute Order, Stone, 19-18 (D.D.C. Feb. 21, 2019).


                                                       2
          Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 3 of 8



Policy—not counsel for the DOJ—that must disclose additional material from the Mueller

Report to EPIC. The Stone Order would still have no effect.

         Second, the Stone Order only restricts the DOJ, as a party, from “making [certain]

statements to the media or to the public” “within the immediate vicinity of the courthouse[.]”

Stone Order at 4. EPIC, of course, is not asking the DOJ to make a public “statement” outside of

the courthouse. EPIC is seeking the disclosure of material from an existing DOJ record pursuant

to the FOIA. Nothing in the Stone Order prohibits that.2

         Finally, the DOJ has failed to demonstrate—in fact, has barely argued—that the

disclosure of material from the Mueller Report concerning Roger Stone would “pose a

substantial likelihood of material prejudice” to the Stone case. Stone Order at 3–4. Even if the

Stone Order somehow restricted the DOJ’s ability to fulfill EPIC’s FOIA Request, the Order

would only prohibit the disclosure of a narrow category of prejudicial information. The DOJ has

not shown that any of the material concerning Roger Stone in the Mueller Report meets that

standard—particularly now that Mr. Stone’s trial has ended.

         The likelihood of prejudice is especially low at the sentencing stage because the matter

no longer before a jury. There is no question that the court in Stone has the ability to render an



2
  The DOJ, in a footnote to its status report, cites a district court decision holding that the DOJ’s initial public release
of the Mueller Report violated Local Crim. R. 57.7(b) (and by extension, a prior order instructing the parties to
comply with Local Crim. R. 57.7(b)). Def.’s Status Report at 4 n.2 (quoting Mem. Op. & Order at 10, United States
v. Concord Mgmt. & Consulting LLC, No. 18-cr-32-2 (DLF) (D.D.C. July 1, 2019)). But the DOJ omits to mention
two dispositive differences between Concord Management and this case. First, as the Concord Management court
noted, “the question under Rule 57.7 . . . is whether the government’s statements were ‘reasonabl[y] likel[y]’ to
cause prejudice at the time they were made.” Id. at 9–10 (quoting Local Crim. R. 57.7(b)). In Concord Management,
the release of the Mueller Report came before trial, and thus posed a risk of prejudice to the defendants. Here, Mr.
Stone’s trial has ended; there is no material risk of prejudice remaining. Second, the initial public disclosure of the
Mueller Report was a voluntary decision by the DOJ and was carried out, in part, by the attorneys from the Special
Counsel’s Office who were prosecuting the Concord Management case. Id. at 3. Here, the FOIA requires the
disclosure of additional information to EPIC—not by the attorneys from the Stone case, but by the DOJ’s Office of
Information Policy. Local Criminal Rule 57.7(b) does not, and cannot, prohibit that result. See Local Crim. R.
57.7(b); see also Hollingsworth v. Perry, 558 U.S. 183, 191 (2010) (holding that a local rule cannot supersede a
federal statute).


                                                             3
         Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 4 of 8



impartial judgement based on the evidence in the record, regardless of what is disclosed pursuant

to the FOIA.

        Accordingly, the DOJ may not rely on the Stone Order to withhold portions of the

Mueller Report from EPIC.

 The DOJ Has Waived or Mooted Many Assertions of Exemptions 6, 7(A), 7(B), and 7(C)

        As a result of major developments in the Stone and United States v. Internet Research

Agency, the DOJ has waived or mooted numerous assertions of Exemptions 6, 7(A), 7(B), and

7(C).

        First, by disclosing extensive evidence to the public at Mr. Stone’s trial, the DOJ has

waived its purported ability to withhold that same information contained in the Mueller Report.

Mobley v. CIA, 806 F.3d 568, 583 (D.C. Cir. 2015) (quoting Fitzgibbon v. CIA, 911 F.2d 755,

765 (D.C. Cir. 1990)) (“[W]hen information has been ‘officially acknowledged,’ its disclosure

may be compelled even over an agency's otherwise valid exemption claim.”). The same is true of

any information officially acknowledged by the DOJ in the superseding indictment from United

States v. Internet Research Agency. Superseding Indictment, United States v. Internet Research

Agency, No. 18-32 (D.D.C. Nov. 8, 2019), ECF No. 247. EPIC is unquestionably entitled to this

material under the FOIA, and the DOJ is obligated to reprocess the Mueller Report to identify

such material. See ACLU v. DOD, 628 F.3d 612, 618 (D.C. Cir. 2011) (explaining that plaintiff’s

appeal was remanded to ensure reprocessing of records in light of official disclosures); ACLU v.

DOJ, 640 F. App’x 9, 13 (D.C. Cir. 2016) (explaining that there “there may be some

circumstances in which it is appropriate to consider new information that comes to light during

litigation”).

        Second, the DOJ has lost its ability to assert Exemption 7(B), which applies to records




                                                 4
        Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 5 of 8



complied for law enforcement purposes that would “deprive a person of a right to a fair trial or

an impartial adjudication” if disclosed. 5 U.S.C. § 552(b)(7)(B). Exemption 7(B) “requires a

showing ‘(1) that a trial or adjudication is pending or truly imminent; and (2) that it is more

probable than not that disclosure of the material sought would seriously interfere with the

fairness of those proceedings.’” Chiquita Brands Int’l Inc. v. SEC, 805 F.3d 289, 294 (D.C. Cir.

2015) (quoting Washington Post Co. v. DOJ, 863 F.2d 96, 102 (D.C. Cir. 1988)). Now that

Roger Stone’s trial has ended, the DOJ lacks even a colorable argument that Exemption 7(B)

applies to material in the Mueller Report. And indeed, the DOJ has all but abandoned its 7(B)

claims. See generally Def.’s Status Report.

       Third, the DOJ has almost certainly mooted—or at a minimum, must reevaluate—many

Exemption 7(A) claims relating to the Stone and Internet Research Agency cases. Exemption

7(A) applies to records complied for law enforcement purposes, the disclosure of which “could

reasonably be expected to interfere with enforcement proceedings,” 5 U.S.C. § 552(b)(7). But “a

law enforcement agency invoking the exception [must] show that the material withheld ‘relates

to a concrete prospective law enforcement proceeding.’” Juarez v. DOJ, 518 F.3d 54, 58 (D.C.

Cir. 2008) (quoting Bevis v. Dep’t of State, 801 F.2d 1386, 1389 (D.C. Cir. 1986)) (emphasis

added). As the D.C. Circuit has explained, disclosure “cannot interfere with parts of the

enforcement proceeding already concluded.” CREW v. DOJ, 746 F.3d 1082, 1097 (D.C. Cir.

2014) (quoting North v. Walsh, 881 F.2d 1088, 1100 (D.C. Cir. 1989)). The DOJ’s claim that

exemption 7(A) applies to material concerning Mr. Stone because disclosure “could prejudice

[his] trial” is thus moot, Brinkmann Decl. ¶ 50, ECF No. 54-3, as that trial has “already

concluded.” CREW, 746 F.3d at 1097 (quoting North, 881 F.2d at 1100); see also Sussman v.

U.S. Marshals Serv., 494 F.3d 1106, 1115 (D.C. Cir. 2007) (emphasis added) (explaining that




                                                 5
         Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 6 of 8



enforcement proceedings underlying a 7(A) assertion “must be pending or reasonably anticipated

at the time of the district court's eventual decision, not merely at the time of [the plaintiff’s]

original FOIA request”).

        In its status report, the DOJ erroneously suggests that information which comes under

Exemption 7(A) necessarily retains that status until the bitter end of all related enforcement

proceedings. See Def.’s Status Report at 3–4. That is simply not the law. As the D.C. Circuit

explained in North, an agency seeking to withhold information related to a criminal proceeding

under 7(A) must demonstrate that the exemption still applies despite the conclusion of the trial:

        During the pendency of this appeal, we note, North has been convicted by a jury of
        three counts of the indictment and acquitted on nine others. Disclosure of the
        information North seeks cannot interfere with parts of the enforcement proceeding
        already concluded. On remand, then, the district court should consider whether
        disclosure can reasonably be expected to interfere in a palpable, particular way with
        the remaining portions of the enforcement proceedings, including the post-trial
        Kastigar hearing.

North, 881 F.2d at 1100. Although there may, on occasion, be grounds for withholding

information under 7(A) beyond the end of a criminal trial, that protection is anything but

automatic. See id.; see also CREW, 746 F.3d at 1097. The agency must demonstrate that the

criteria of 7(A) are still (allegedly) met—something the DOJ has simply refused to do here.

Indeed, having failed to reprocess the Mueller Report in light of the developments in the Stone

and Internet Research Agency, the DOJ lacks a valid factual basis to assert that 7(A) still applies

to the material in question. The agency is simply operating on guesswork.

        Finally, the DOJ can no longer claim to withhold material concerning Roger Stone under

Exemptions 6 and 7(C). Exemption 7(C) applies to “records or information compiled for law

enforcement purposes,” the disclosure of which would “constitute an invasion of personal

privacy,” 5 U.S.C. § 552(b)(7)(C), while Exemption 6 applies solely to “personnel and medical




                                                   6
         Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 7 of 8



files and similar files the disclosure of which would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6) (emphasis added). The DOJ invoked Exemptions 6 and

7(C) on the grounds that Mr. Stone has “protectable privacy interests in premature release of

investigatory details relevant to criminal law enforcement proceedings against [him]” and that

disclosure would “impact his ability to amount an effective defense and deprive him of the right

to a fair trial.” Brinkmann Decl. ¶ 73. Yet with the conclusion of Stone’s trial, the DOJ can no

longer argue that disclosure would be premature or that Stone’s right to a fair trial is at risk.

          The Court Should Order Immediate Reprocessing of the Mueller Report

       The DOJ’s reprocessing of the Mueller Report should begin immediately. As this Court

has noted, disclosure of the Mueller Report is “a very important matter and the public has a right

to know what it can know about the investigation[.]” Hr’g Tr. 15:25–16:2, ECF No. 25. For that

reason, the Court has emphasized that this case should proceed “as expeditiously as humanly

possible.” Id. at 26:12. Given the urgency of this matter; the DOJ’s overdue obligation to

reevaluate many of its exemption claims; and the relative ease with which the agency can

reprocess the discrete sections of the Mueller Report pertaining to the Stone and Internet

Research Agency cases, the Court should order immediate reprocessing of the Mueller Report, to

be completed within thirty days (by January 17, 2020). The Court should reject the DOJ’s

proposed schedule, which would needlessly grant the agency at least 95 days to “reevaluate”

“whether it will be reprocessing the Mueller Report”—a step the DOJ is already required by law

to take. Def.’s Status Report at 6.



                                                      Respectfully Submitted,

                                                      MARC ROTENBERG, D.C. Bar #422825
                                                      EPIC President and Executive Director



                                                  7
       Case 1:19-cv-00810-RBW Document 106 Filed 12/18/19 Page 8 of 8




                                         ALAN BUTLER, D.C. Bar #1012128
                                         EPIC General Counsel

                                         /s/ John L. Davisson
                                         JOHN L. DAVISSON, D.C. Bar #1531914
                                         EPIC Counsel

                                         ENID ZHOU, D.C. Bar #1632392
                                         EPIC Open Government Counsel

                                         ELECTRONIC PRIVACY
                                         INFORMATION CENTER
                                         1519 New Hampshire Ave, N.W.
                                         Washington, D.C. 20036
                                         (202) 483-1140 (telephone)
                                         (202) 483-1248 (facsimile)

                                         Attorneys for Plaintiff EPIC


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                                     8
